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                                                                          5                        IN THE UNITED STATES DISTRICT COURT
                                                                          6                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                              IN RE: CATHODE RAY TUBE (CRT)              )   MDL No. 1917
                                                                          8   ANTITRUST LITIGATION                       )
                                                                                                                         )   Case No. C-07-5944-SC
                                                                          9                                              )
                                                                                                                         )   ORDER DENYING TOSHIBA
                                                                         10   This Order Relates To:                     )   AMERICA INFORMATION
                               For the Northern District of California
United States District Court




                                                                                                                         )   SYSTEMS, INC.'S MOTION TO
                                                                         11       Case No. 12-cv-02648                   )   COMPEL
                                                                                                                         )
                                                                         12       P.C. RICHARD & SON LONG ISLAND         )
                                                                                  CORPORATION; MARTA COOPERATIVE         )
                                                                         13       OF AMERICA, INC.; AND ABC              )
                                                                                  APPLIANCE, INC.                        )
                                                                         14                                              )
                                                                                                      Plaintiffs,        )
                                                                         15                                              )
                                                                                         v.                              )
                                                                         16                                              )
                                                                                  HITACHI, LTD., et al.,                 )
                                                                         17                                              )
                                                                                                      Defendants.        )
                                                                         18                                              )
                                                                         19
                                                                         20          Now before the Court is Defendant Toshiba America Information
                                                                         21   Systems, Inc.'s ("Toshiba") motion to compel P.C. Richard & Son
                                                                         22   Long Island Corporation, MARTA Cooperative of America, Inc., and
                                                                         23   ABC Appliance, Inc. (collectively, "Plaintiffs")1 to produce
                                                                         24   settlement agreements in response to Request Number 3 of Toshiba
                                                                         25   and Philips Electronics North America Corporation's ("Philips")
                                                                         26   First Set of Requests for Production of Documents.             ECF No. 2602
                                                                         27   1
                                                                                Recognizing the prospective impact of the Court's ruling, the 13
                                                                         28   remaining Direct Action Plaintiffs ("DAPs") join in opposing the
                                                                              motion. ECF No. 2566, at 1.
                                                                               Case 3:07-cv-05944-JST Document 2710 Filed 07/28/14 Page 2 of 3




                                                                          1   ("Mot.").   On May 8, 2014, anticipating that the parties would
                                                                          2   likely seek review of any decision by the Special Master, the Court
                                                                          3   withdrew reference on the motion.        ECF No. 2566.   The motion is
                                                                          4   fully briefed, ECF Nos. 2602, 2627 ("Opp'n"), and 2654 ("Reply"),
                                                                          5   and appropriate for resolution without oral argument under Civil
                                                                          6   Local Rule 7-1(b).    The motion is DENIED as explained below.
                                                                          7        In its motion, Toshiba seeks to compel Plaintiffs to produce
                                                                          8   "[a]ll settlement agreements between YOU and any other PERSON
                                                                          9   RELATED TO any of the claims asserted in the COMPLAINT" in response
                                                                         10   to Request Number 3 of their First Set of Requests for Production
                               For the Northern District of California
United States District Court




                                                                         11   of Documents.   Mot. at 3.    In response to the request, Plaintiffs
                                                                         12   declined to produce any documents and instead objected to the
                                                                         13   request arguing, among other things, that (1) the materials sought
                                                                         14   are protected by Federal Rule of Evidence 408 and (2) are
                                                                         15   irrelevant, and thus outside the scope of discovery.          ECF No. 2602-
                                                                         16   1 ("Foster Decl.") Ex. 2, at 6-7.        In the briefing, Plaintiffs note
                                                                         17   that they "have not entered into any settlement agreements at this
                                                                         18   time and thus have no settlement agreements to produce."           Opp'n at
                                                                         19   1.
                                                                         20        While Toshiba's motion raises a question that the Court will
                                                                         21   likely have to confront in the future, it is canonical that federal
                                                                         22   courts do not issue advisory opinions.        See generally Steel Co. v.
                                                                         23   Citizens for a Better Env't, 523 U.S. 83, 101 (1998).          Furthermore,
                                                                         24   even though the parties have not raised the issue, the Court has a
                                                                         25   duty to examine its own jurisdiction sua sponte.         B.C. v. Plumas
                                                                         26   United Sch. Dist., 192 F.3d 1260, 1264 (9th Cir. 1999).            Here, as
                                                                         27   in other cases seeking to compel settlement agreements that have
                                                                         28   not yet been entered into, the motion to compel is not yet ripe.



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                                                                               Case 3:07-cv-05944-JST Document 2710 Filed 07/28/14 Page 3 of 3




                                                                          1   See, e.g., Manildra Milling Corp. v. Ogilvie Mills, Inc., Civ. A.
                                                                          2   No. 86-2457-S, 1991 WL 30772, at *2 (D. Kan. Feb. 19, 1991) ("The
                                                                          3   court finds that at this time [the] motion to compel is not ripe
                                                                          4   because there is no agreement which this court can compel the
                                                                          5   parties to produce."); see also Linares v. Costco Wholesale, Inc.,
                                                                          6   No. 11-CV-02547-MMA-BGS, 2013 WL 5434570, at *6 (S.D. Cal. Mar. 7,
                                                                          7   2013) (denying a motion to compel discovery with a purely
                                                                          8   prospective effect).    As a result, the Court lacks jurisdiction
                                                                          9   under Article III to render a decision on the motion at this time.
                                                                         10   See generally Colwell v. Dep't of Health & Human Servs., 558 F.3d
                               For the Northern District of California
United States District Court




                                                                         11   1112, 1121 (9th Cir. 2009) ("Two components of the Article III case
                                                                         12   or controversy requirement are standing and ripeness.").
                                                                         13        As a result the motion must be DENIED.        Should Plaintiffs
                                                                         14   enter into a settlement, Toshiba may refile their motion.
                                                                         15
                                                                         16        IT IS SO ORDERED.
                                                                         17
                                                                         18        Dated: July 28, 2014
                                                                                                                   UNITED STATES DISTRICT JUDGE
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